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                                 IN THE UNITED STATES BANUPTCY COURT

                                        FOR THE DISTRICT OF DELAWAR


In re:                                                          )          Chapter 11
                                                                )
W.R. GRACE & CO., et al..i                                      )          Case No. 01-1139 (JK)
                                                                )          Jointly Administered
                                  Debtors.                      )
                                                                    Objection Deadline: October 9, 2009 at 4:00 p.m.
                                                                       Hearing Date: October 26, 2009 at 10:30 a.m.

       NOTICE OF MOTION FOR AN ORDER AUTHORIZING THE SALE OF 5% OF
      THE LIMITED LIABILITY COMPAN INTERESTS OF ADVANCED REFINING
           TECHNOLOGIES LLC AND CERTAIN RELATED AGREEMENTS
                             AND TRASACTIONS

TO: Parties required to receive notice pursuant to DeL. Bank. LR 2002-1.

                           The above-captioned debtors and debtors-in-possession (collectively, the

"Debtors") filed the attached Motion for an Order Authorizing the Sale of 5% of the Limited

Liability Acompany Interests of Advanced Refining Technologies LLC and Certain Related

Agreements and Transactions (the "Motion") with the United States Banptcy Cour for the

1 The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/a Grace Specialty Chemicals, Inc.), W.
R. Grace & Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB
Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N
Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/ka Dewey and Almy
Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Parters I, Inc. (f/a Grace Cocoa Limted Parters
I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN
Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B
II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Driling Company, Grace Energy
Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel
Services Corporation, Grace International Holdings, Inc. (f/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc.,
Grace Ventues Corp., Grace Washigton, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation,
Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation,
Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f/a
GHSC Holding, Inc., Grace NH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Momoe
Street, Inc., MRA Holdings Corp. (f/a Nestor-BNA Holdings Corporation), MR Intermedco, Inc. (f/a Nestor-
BNA, Inc.), MRA Staffng Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/a
Environmental Liability Management, Inc., E&C Liquidatig Corp., Emerson & Cuming, Inc.), Southern Oil, Resin
& Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parters (f/k/a Cross Countr
Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.



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Distrct of       Delaware, 824 Market Street, Wilmington, Delaware 19801 (the "Banptcy

Cour"). A tre and correct copy ofthe Motion is attached hereto.

             Responses to the relief requested in the Motion, if any, must be in writing and be fied

with the Bankptcy Cour no later than 4:00 p.m. (prevailing Eastern time) on October 9,2009.

At the same time, you must also serve a copy of                    the objections or responses, if any, upon the

following: (i) co-counsel for the Debtors, Theodore L. Freedman, Kirkland & Ells LLP,

Citigroup Center, 601 Lexington Avenue, New York, NY 10022-4611 (fax number 212-446-

4800), Janet S. Baer, The Law Offces of Janet S. Baer, P.C., 70 West Madison Street, Suite

2100, Chicago, IL 60602 (Fax number 312-641-2165); and James E. O'Neil, Pachulski Stang

Ziehl & Jones LLP, 919 North Market Street, 1 ih Floor, PO. Box 8705, Wilmington, DE

19899-8705 (Courer 19801) (fax number 302-652-4400); (ii) counsel to the Offcial Committee

of   Unsecured Creditors, Lewis Krger, Stroock & Stroock & Lavan, 180 Maiden Lane, New

York, NY 10038-4982 (fax 212-806-6006), and Michael R. Lastowski, Duane, Morrs &

Heckscher, LLP, 1100 N. Market Street, Suite 1200, Wilmington, DE 19801-1246 (fax 302-

657-4901); (iii) counsel to the Offcial Committee of                     Property Damage Claimants, Scott L.

Baena, Bilzin, Sumberg, Dun, Baena, Price & Axelrod, First Union Financial Center, 200 South

Biscayne Boulevard, Suite 2500, Miami, FL 33131 (fax 305-374-7593), and Michael B. Joseph,

Ferry & Joseph, P.A., 824 Market Street, Suite 904, P.O. Box 1351, Wilmington, DE 19899 (fax

302-575-1714); (iv) counsel to the Official Committee of                     Personal Injury Claimants, Elihu

Inselbuch, Caplin & Drysdale, Chartered, 375 Park Avenue, 35th Floor, New York, NY 10152-

3500 (fax 212-644-6755), and Marla Eskin, Campbell & Levine, LLC, 800 N. King Street, Suite

300, Wilmington, DE 19801 (fax 302-426-9947); (v) counsel to the Offcial Committee of

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Equity Holders, Thomas M. Mayer, Kramer Levin Naftalis & Franel LLP, 919 Third Avenue,

New York, NY 10022 (fax 212-715-8000), and Teresa K.D. Curer, Saul Ewing LLP, 222

Delaware Avenue P.O. Box 1266, Wilmington, DE 19899-1397 (fax 302-421-6813);

(vi) counsel to the Future Claimants' Representative, Richard H. Wyron, Swidler Berlin Shereff

Friedman, LLP, 3000 K Street, NW, Suite 300, Washington, DC 20007 (fax 202-424-7643), and

John C. Phillips, Jr., Phillps, Goldman & Spence, P.A., 1200 North Broom Street, Wilmington,

DE 19806 (fax 302-655-4210); (vii) the Office of              the United States Trustee, Att: David

Klauder, 844 N. King Street, Wilmington, DE 19801 (fax 302-573-6497); and (viii) counsel to

the Property Damage Future Claimants' Representative, Karl Hil, Seitz, Van Ogtop & Green,

P.A., 222 Delaware Avenue, Suite 1500, P.O. Box 68, Wilmington, DE 19899 (fax 302-888-

0606) and Alan B. Rich, Law Offce of Alan B. Rich, Esq., 1201 Main Street, Suite 1910, LB

201, Dallas, TX 75202 (fax 214-749-0325).

                       IF NO OBJECTIONS AR TIMELY FILED AN SERVED IN

ACCORDANCE WITH THIS NOTICE, THE BANKUPTCY COURT MAY GRAT THE

RELIEF REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARG.

                       IN THE EVENT THAT AN OBJECTION OR RESPONSE IS FILED AN

SERVED IN ACCORDANCE WITH THIS NOTICE, A HEARG ON THE MOTION WILL




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BE HELD BEFORE THE HONORALE JUITH K. FITZGERAD ON OCTOBER 26, 2009

AT 10:30 A.M., EASTERN TIME AT THE UNITED STATES BANUPTCY COURT, 824

MART STREET, WILMINGTON, DELAWAR 19801.


Dated: SeptembeJL 2009                       KIAN & ELLIS LLP
                                             Theodore L. Freedman
                                             David M. Bernck, P.C.
                                             Citigroup Center
                                             601 Lexington Ave.
                                             New York, New York 10022-4611
                                             Telephone: (212) 446-4800
                                             Facsimile: (212) 446-4900

                                             and

                                             THE LAW OFFICES OF JANT S. BAER P.C.
                                             Janet S. Baer, P.C.
                                             Roger J. Higgins
                                             70 West Madison Street, Suite 2100
                                             Chicago, IL 60602
                                             Telephone: (312) 641-2162

                                             and



                                                              0ö~
                                             PACHULSKI STANG ZIEHL & JONES LLP


                                             L u a Davis Jones (Bar No. 2436)
                                             J s E. O'Neil (Bar No. 4042)
                                             Kleen P. Makowski (Bar No. 3648)
                                             Timothy P. Cairns (Bar No. 4228)
                                             919 North Market Street, 17th Floor
                                             P.O. Box 8705
                                             Wilmington, Delaware 19899-8705
                                             (Courer 19801)
                                             Telephone: (302) 652-4100
                                             Facsimile: (302) 652-4400

                                             Co-Counsel for the Debtors and Debtors in
                                             Possession




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